                                                                                 Case: 11-12130-JMD Doc #: 1 Filed: 05/27/11 Desc: Main Document                                                               Page 1 of 28
                                                                     B1 (Official Form 1) (4/10)
                                                                                                           United States Bankruptcy Court
                                                                                                             District of New Hampshire                                                                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Lopushansky, Nazar V.
                                                                      All Other Names used by the Debtor in the last 8 years                                All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                           (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): 7228                                               EIN (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                      Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      348 Fox Hollow Way
                                                                      Manchester, NH
                                                                                                                             ZIPCODE 03104                                                                         ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                            County of Residence or of the Principal Place of Business:
                                                                      Hillsborough
                                                                      Mailing Address of Debtor (if different from street address)                          Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                               ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                   ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                             the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                           ü Chapter 7                  Chapter 15 Petition for
                                                                     üIndividual (includes Joint Debtors)
                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                    Chapter 9
                                                                                                                                                                                     Chapter 11
                                                                                                                                                                                                               Recognition of a Foreign
                                                                                                                                                                                                               Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                          Chapter 12                Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                       Chapter 13                Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                            Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                        Nature of Debts
                                                                                                                                 ü Other                                                                (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                      Debts are primarily consumer
                                                                                                                                                                                     debts, defined in 11 U.S.C.
                                                                                                                                                                                                                         ü
                                                                                                                                                                                                                         Debts are primarily
                                                                                                                                                                                                                         business debts.
                                                                                                                                           (Check box, if applicable.)               § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under         individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the           personal, family, or house-
                                                                                                                                   Internal Revenue Code).                           hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee          Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.            than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                        COURT USE ONLY
                                                                      ü  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                                             ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-          10,001-          25,001-          50,001-         Over
                                                                                                                        5,000          10,000          25,000           50,000           100,000         100,000
                                                                     Estimated Assets
                                                                     ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                             ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case: 11-12130-JMD Doc #: 1 Filed: 05/27/11 Desc: Main Document                                                       Page 2 of 28
                                                                     B1 (Official Form 1) (4/10)                                                                                                                            Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Lopushansky, Nazar V.

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                     B1 (Official Form 1) (4/10)                                                                                                                                                    Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Lopushansky, Nazar V.

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X /s/ Nazar V. Lopushansky                                                                 Signature of Foreign Representative
                                                                          Signature of Debtor                                 Nazar V. Lopushansky
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 27, 2011
                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X /s/ Gerald D. Neiman                                                                preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Gerald D. Neiman 03902                                                            110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Gerald D. Neiman, Attorney At Law, PLLC                                           pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          103 Roxbury St. Ste 302B                                                          chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Keene, NH 03431                                                                   notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                                                                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 27, 2011
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X
                                                                          Signature of Authorized Individual
                                                                                                                                                            If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                            in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                 Case: 11-12130-JMD Doc #: 1 Filed: 05/27/11 Desc: Main Document                                      Page 4 of 28
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                         District of New Hampshire

                                                                     IN RE:                                                                                           Case No.
                                                                     Lopushansky, Nazar V.                                                                            Chapter 7
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Nazar V. Lopushansky
                                                                     Date: May 27, 2011
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                                                                                                                   United States Bankruptcy Court
                                                                                                                     District of New Hampshire

                                                                     IN RE:                                                                                 Case No.
                                                                     Lopushansky, Nazar V.                                                                  Chapter 7
                                                                                                            Debtor(s)

                                                                                                           VERIFICATION OF CREDITOR MATRIX
                                                                     The above named Debtor hereby certifies under penalty of perjury that the attached master mailing list of creditors, consisting
                                                                     of      23 pages is complete, correct and consistent with the Debtor’s schedules pursuant to Local Bankruptcy Rules and
                                                                     assumes all responsibility for errors and omissions.


                                                                     Date: May 27, 2011                                 /s/ Nazar V. Lopushansky
                                                                                                                        Debtor Signature
                                                                                                                        Lopushansky, Nazar V.
                                                                                                                        348 Fox Hollow Way
                                                                                                                        Manchester, NH 03104
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              A&S Collection Assocaites, Inc.
              Re: Albert Smith
              P.O. Box 395
              Williamston, VT 05679


              Abco Rental
              35 Bradley Dr.
              Westbrook, ME 04092


              Acadia Contractors, LLC
              780 Auburn Rd.
              Turner, ME 04282


              Acadia Insurance Co.
              P.O. Box 10159
              Albany, NY 12201


              Ace Welding Co., Inc.
              P.O. Box 695
              Merrimack, NH 03054


              AH Harris
              P.O. Box 30135
              Hartford, CT 06150


              Air Distribution Corp.
              350 Harvey Rd. Unit 1A
              Manchester, NH 03103


              Airgas East, Inc.
              P.O. Box 827049
              Philidelphia, PA 19182
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              Alfano & Baroff Professional Association
              Re: Difeo & Brogna LLC
              10 Commerce Park North Ste 13B
              Bedford, NH 03110


              Allen Maxwell & Silver
              190 Sylvan Ave.
              Englewood Cliffs, NJ 07632


              AllenLumber Co.
              707 Stone Cutters Way
              Montpellier, VT 05602


              Allstate Concrete
              7 Scott Ave.
              Hooksett, NH 03106


              Alside Supply Center
              111 Zachery Rd.
              Manchester, NH 03109


              Amex
              Po Box 3001
              Malvern, PA    19355


              APM, Inc
              P.O. Box 498
              Auburn, MA 04212


              Applicators Sales & Service, Inc.
              15 Keewaydin Dr.
              Salem, NH 03079


              Armand Lemire Company, Inc
              P.O. Box 16454
              Hooksett, NH 03106
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              Asset Acceptance Llc
              Po Box 2036
              Warren, MI 48090


              Bamco, Inc
              30 Baekland Ave.
              Middlesex, NJ 08846


              Bank Of America
              Po Box 17054
              Wilmington, DE 19850


              Bayview Financial Loan
              2601 S Bayshore Dr 4th Fl
              Miami, FL 33133


              Beacon Salles Company
              P.O. Box 415439
              Boston, MA 02241-5439


              Bellino Grosso, Inc.
              980 Riverside St.
              Portland, ME 04103


              Benson Lumber
              P.O. Box 444
              Derry, NH 03038


              BMW Financial Services
              P.O. Box 9001065
              Louisville, KY 40290-1065


              Bond Safeguard Insurance Company
              1919 S. Highland Ave. Bldg A Ste 300
              Lombard, IL 60148-4979
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              Border Electric Contractor
              P.O. Box 1864
              Merrimack, NH 03054


              Boston Ladder & Scaffolding
              159 Frontage Rd.
              Manchester, NH 03103


              Brock's Building Materials
              298 N. Main St.
              Rochester, NH 03866


              Bugbee Insulation, Inc.
              15 North Main St.
              Jericho, VT 05465


              Builders & Homeowners Mtg Company
              P.O. Box 665
              W. Ossipee, NH 03890


              Builders Installed Products
              515 Riverside Industrial Pkwy
              Portland, ME 04103


              Builders Installed Products
              P.O. Box 5111
              Manchester, NH 03108


              Caine & Weaver
              9960 Corporate Campus Dr. Ste 1600
              Louisville, KY 40223


              Camera Slate Products Inc.
              P.O. Box 8
              Fairhaven, CT 05743
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              Caselle Waste Management, Inc.
              P.O. Box 418
              Williston, VT 05495


              Catholic Medical Center
              P.O. Box 179
              Manchester, NH 03105


              Centrix Bank
              1 Atwood Lane
              Bedford, NH 03110


              Champion Construction & Manufacturing
              163 Mountain Rd.
              Nottingham, NH 03290


              Chartis
              22427 Network Place
              Chicago, IL 60673


              Ciadelli Fuel Co., Inc.
              467 Nashua St
              Milford, NH 03055


              Citibank USA*
              Bankruptcy Dept.
              P.O. Box 20507
              Kansas City, MO 64195


              Citibank USA*/ The Home Depot
              Bankruptcy Dept.
              P.O. Box 20507
              Kansas City, MO 64195
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              Citibank USA*/Sears
              Bankruptcy Dept.
              P.O. Box 20507
              Kansas City, MO 64195


              Citizens Bank
              Managed Asset Division
              480 Jefferson Blvd., RJBW 500
              Warwick, RI 02886


              Cohen Steel Supply
              10 Basin St.
              Concord, NH 03302


              Colex, LLC
              P.O. Box 156
              Gray, ME 04039


              Coll Concrete Creations, Inc.
              70 Prospect Hill Rd.
              Hancock, NH 03449


              Comcast
              P.O. Box 1577
              Newark, NJ 07101-1577


              Concrete Coring Company
              5 Pine St. Ext #6 Mill Annex
              Nashua, NH 03060


              Construction Summary, Inc.
              734 Chestnut St.
              Manchester, NH 03104
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              CRP Contract Flooring, Inc.
              548 Donald St. Unit 11
              Manchester, NH 03110


              Cyr Lumber
              P.O. Box 837
              Windham, NH 03087


              D&B Locksmith Inc.
              18 Johnson St.
              Bedford, NH 03110


              Dartmouth Hitchcock Clinic Keene
              PO Box 10547
              Bedford, NH 03110-0547


              Dave's Septic Service, Inc.
              P.O. Box 5193
              Manchester, NH 03108


              Decorating Plus, Inc.
              336 Center St.
              Auburn, ME 04210


              Difeo & Brogna LLC
              33 Hunter Dr.
              Derry, NH 03038


              Direct Capital Corporation
              155 Commerce Way
              Portsmouth, NH 03801


              DMJ Finishers
              30 Barrington Ave #307
              Nashua, NH 03062
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              Don Cote Construction LLC
              3 Yeaton Lane
              Epsom, NH 03234


              Door Systems Corp.
              66 Westminster St.
              Lewiston, ME 04240


              Dsnb Macys
              Po Box 8053
              Mason, OH 45040


              Ducharme's Machine Shop, Inc.
              1670 McGlynn Rd.
              Graniteville, VT 05654


              Eastern Insurance Group, LLC
              233 West Central St.
              Natick, MA 01760


              Edward Frisella, Jr.
              11 Cinnamon Ridge Rd.
              Sommersworth, NH 03878


              EJP Inc.
              P.O. Box 350002
              Boston, MA 02241-0502


              Elm Grove Proeprty Solutions, LLC
              497 Hooksett Rd. #2 PMB 173
              Manchester, NH 03104


              Emanuel Engineering, Inc
              118 Portsmouth Ave. Ste A-202
              Stratham, NH 03885-2415
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              Evans Cabinet Corp
              1321 North Franklin St.
              Dublin, GA 31021


              F. D. Randall & Associates Inc.
              12 Mason Rd.
              Chichester, NH 03258


              Fastenal
              P.O. Box 978
              Winona, MN 55987


              Federal Express
              P.O. Box 371461
              Pittsburg, PA 15250


              Filenes
              PO Box 94868
              Cleveland, OH     44101-4868


              Fireside Inn & Suites - Auburn
              1777 Washington St.
              Auburn, ME 04210-3847


              Franks Signs Inc.
              591 Lincoln St.
              Manchester, NH 03104


              Frederick Meyers, III & Sons LLC
              P.O. Box 608
              Sangornville, NH 03872


              Gate City Fence, Co
              11 Ledge St.
              Nashua, NH 03060
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              Gauvin Masonry Inc.
              P.O. Box 624
              Waterbury, VT 05676


              Geddes Building Mover, Inc
              85 River Rd. Box 17
              Bow, NH 03301


              George Pynn Masonry, Inc
              29 Newton Rd.
              Plaistow, NH 03865


              Gilford Well Company, Inc
              1440 Lake Shore Rd.
              Gilford, NH 03249


              GMAC Mortgage LLC
              433 S. Main St. Ste 202
              W. Hartford, CT 06110


              Gould Crane Service
              1031 River Rd.
              Weare, NH 03281


              Gragil Associates, Inc.
              P.O. Box 1010
              Pembroke, MA 02359-1010


              Granite State Glass
              4 Aviation Dr.
              Gilford, NH 03249


              Granite State Plumbing & Heating
              26 Waterford Place
              Gilford, NH 03249
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              Hancock Lumber Company
              P.O. Box 299
              Casco, ME 04015


              Hanover Insurance Group
              440 Lincoln St.
              Worcester, MA 01653


              Hartigan Company
              31 WElch Park Dr.
              Middlesex, VT 05602


              Harvey Industries
              240 West Rd.
              Portsmouth, NH 03801


              Harvey Industries
              30 Jack's Bridge Rd.
              Londonderry, NH 03053


              Helios Systems
              1 Liberty Lane
              Hampston, NH 03842


              High Tec Fire Protection Co.
              P.O. Box 156
              Minot, ME 04258


              Hissong Ready Mix & Aggregates, LLC
              48 York St. Ste 2
              Kennebuck, ME 04043


              HSBC Card Services*
              P.O. Box 80084
              Salinas, CA 93912-0084
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              Ideal Disposal, Inc.
              P.O. Box 1000
              Pelham, NH 03076


              Internal Revenue Service
              Insolvency Unit
              P.O. Box 9502
              Portsmouth, NH 03802


              Jay Surdukowski, Esq.
              Sulloway & Hollis, PLLC
              P.O. Box 1256
              Concord, NH 03302


              John A. Wolkowski, Esq.
              Re; MASCO Contract Service
              P.O. Box 516
              Manchester, NH 03105-0516


              John C. Pratt, Co.
              60 Rochester Hill Rd.
              Rochester, NH 03867


              John G. Cronin, Esq.
              722 Chestnut St
              Mancehster, NH 03104


              JSN Associates, Inc.
              One Autumn Street
              Portsmouth, NH 03801


              JW Arnold Builder
              26 N. Mason Rd.
              Brookline, NH 03033
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              K And M Properties LLC
              C/O John Cronin, Esq
              722 Chestnut St.
              Manchester, NH 03103


              Kamco Supply Corp.
              P.O. Box 83234
              Woburn, MA 01813-3234


              L&S Concrete Cutting, LLC
              P.O.Box 142
              Barnstead, NH 03218


              LAB Landscape & Bobcat Service
              790 W. Main St.
              Antrim, NH 03440


              Lang Door And Hardware, Inc.
              2 Brookside West
              Hooksett, NH 03106


              Leading Edge Recovery Solutions
              5440 N. Cumberland Ave Ste 300
              Chicago, IL 60656-1490


              Lexon Insurance Company
              256 Jackson Meadows Dr. Ste 201
              Hermitage, TN 37076


              Liberty Mutual
              P.O. Box 9525
              Manchester, NH      03108


              Lowes Business Account
              P.O. Box 530970
              Atlanta, GA 30353-0970
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              Lumber Barn
              P.O. Box 447
              Bradford, NH     03221


              Lvnv Funding Llc
              Po Box 740281
              Houston, TX 77274


              Maine Roofing, Inc.
              24 Bishop Ave.
              S. Portland, ME 04106


              Manchester Urology Associates
              4 Elliot Wasy Ste 200
              Manchester, NH 03103-3553


              Marinosci Law Group, P.C.
              RE: Bayview Loan Servicing, LLC
              1575 South County Trail
              E. Greenwich, RI 02893


              Matthew R. Johnson, Esq.
              111 Amherst St.
              Manchester, NH 03101


              Meridan Land Service
              31 Old Nashua Rd.
              Amherst, NH 03031


              Middleton Building Supply,. Inc.
              5 King's Highway
              Middleton, NH 03887


              Milford Lumber Co.
              P.O. Box 489
              Milford, NH 03055
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              Miller Engineering And Testing
              P.O. Box 4776
              Manchester, NH 03108-4776


              Mobile Mini, Inc
              P.O. Box 740773
              Cincinnati, OH 45274-0773


              Mt. William Inc.
              1225 River Rd.
              Weare, NH 03281


              National Grid
              P.O. Box 4300
              Woburn, MA 01888


              Nationwide Credit , Inc.
              2002 Summit Blvd. Ste 600
              Atlanta, GA 30319-1559


              New England Duplicator
              8030 S. Willow St.
              Manchester, NH 03103


              NH Department Of Revenue
              Document Processing Division
              P.O. Box 637
              Concord, NH 03302


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              Jay M. Neiderman, Esq.
              55 West Webster St.
              Manchester, NH 03104
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              Northeast Utilites
              Box Number 2957
              Hartford, CT 06104


              Northland Group, Inc*
              PO Box 390846
              Minneapolis, MN 55439


              Northwest Vermont Elec Contractors, Inc.
              70 Blackberry Dr.
              Huntington, VT 05462


              One Communcations
              P.O. Box 415721
              Boston, MA 02241-5721


              Opechee Construction Corp.
              11 Corporate Dr.
              Belmont, NH 03220


              Oscar Vico Painting
              15 Essex St #2
              Fitchburg, MA 01420


              P. Haynes Construction
              698 Auburn St.
              Mancehster, NH 03103


              Page Street Leasing, LLC
              P.O.Box 129
              Candia, NH 03034-0129


              Parrott Painting
              38 Allen St Unit 2D
              Sandown, NH 03873
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              Pentech Financial Services, Inc.
              P.O. Box 790247
              St. Louis, MO 63179-0247


              Pentech Funding LLC
              1310 Madrid Street Ste 103
              Marshall, MN 56258


              Perras Ace, Inc.
              31 Perras Rd.
              Lancaster, NH 03584


              Phillip Martelle
              132 Higgins Rd.
              Granville, NY 12832


              Phoenix Fire Protection Inc.
              P.O. Box 854
              Derry, NH 03038


              Phoenix Precast
              77 Regional Dr.
              Concord, NH 03301


              Pine Tree Waste
              P.O. Box 780
              Scarborough, ME      04070-0780


              Piquette & Howard Electrical Service
              222 Plaistow Rd.
              Plaistow, NH 03865


              PJ Carpentry & Siding LLC
              112 Albright Ave
              Stratford, CT 06614
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              Poland Spring
              P.O. Box 856192
              Louisville, KY 40285-6192


              Portfolio Recovery Associates
              P.O. Box 12914
              Norfolk, VA 23514


              Pro United, Inc.
              P.O. Box 790
              Greenland, NH 03840-0790


              PSNH
              Credit Department
              PO Box 330
              Manchester, NH 03105


              Quality Glass, Inc.
              969 Lisbon St.
              Lewiston, ME 04240


              Quality Insulation Inc.
              P.O Box 534451
              Atlanta, GA 30353-4451


              Ralph Pill Electric Supply
              307 Dorchester Ave.
              S. Boston, MA 02127


              Raymond D. Lepage
              215 Corn Hill Rd.
              Boscawen, NH 03303


              Raymond Sand & Gravel, LLC
              321 Rte 27
              Raymond, NH 03077
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              Riverside Construction
              259 N. Shore Rd.
              Revere, MA 02151


              Robert Fremeau
              30 Canton St.
              Manchester, NH      03103


              Rodrigue & Sons Painting, Inc.
              P.O. Box 2301
              Lewiston, ME 04241


              Royal Roofing & Siding, Inc.
              2171 Lisbon Rd.
              Lewiston, ME 04240


              Sears/cbsd
              701 East 60th St N
              Sioux Falls, SD 57117


              Service Master Of Lakes Region
              Lewiston/Auburn
              P.O. Box 191
              Oxford, ME 04270


              Shaheen Guerrera & O'Learym LLC
              Sean P. O'Leary, Esq.
              820A Turnpike St.
              N. Andover, MA 01845


              Sherwin & Williams
              738 Islington St.
              Portsmouth, NH 03801
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              Singanture Press
              P.O. Box 16327
              Hooksett, NH 03106


              Spec Tech Painting
              575 Daniel Webster Hwy
              Merrimack, NH 03054


              Spillers Reprographics
              224 Gorham Rd.
              Scarborough, ME 04074


              Staples Credit Plan
              PO Box 9020
              Des Moines, IA 50368-9020


              State Of NH Department Of Revenue
              P.O. Box 637
              Concord, NH 03302


              State Of NH Dept Of Employment Security
              Maria Dalterio, Esq.
              32 South Main St
              Concord, NH 03301


              Steel & Woodworks, LLC
              8 Frenette Dr.
              Hudson, NH 03051


              Suburban Propane
              P.O. Box 109
              Milford, NH 03055


              Superior Fire Protection
              230 Londonderry Turnpike
              Hooksett, NH 03106
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              Tarbell & Brodich
              45 Centre Street
              Concord, NH 03301


              The Airolite Company, LLC
              Bin 145
              Milwaukee, WI 53288-0145


              The Hartford
              P.O. Box 2907
              Hartford, CT 06104-2907


              The Hollow Inn & Motel
              278 S. Main St.
              Barre, VT 05641-4829


              Thibeault Corporation Of NE
              603 Old Mammoth Rd.
              Londonderry, NH 03053


              Toyota Motor Credit
              P.O. Box 9490
              Cedar Rapids, IA 52409


              Trade Source Inc.
              P.O. Box 55572
              Boston, MA 02205


              Traingle Portable Toilets
              29 Chester Rd.
              Derry, NH 03038


              TZS Contracting Services Inc.
              P.O. Box 16416
              Hooksett, NH 03106
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              United Rentals
              P.O. Box 100711
              Atlanta, GA 30384-0711


              Universal Drywall LLC
              320 Rockingham Rd. Unit 8
              Auburn, NH 03032


              USI
              12 Gill St. Ste 5500
              Woburn, MA 01801


              Verizon Wireless
              P.O. Box 15023
              Worcester, MA 01615-0023


              Viking Roofing, Inc.
              19B Clinton Dr.
              Hollis, NH 03049


              Waste Management
              4 Liberty Lane West
              Hampston, NH 03842


              Wells Fargo Financial
              P.O. Box 98751
              Las Vegas, NV 89193-8751


              Wells Fargo Card Services*
              P.O Box 10475
              Des Moines, IA 50306


              Wff Cards
              4137 121st St
              Urbendale, IA     50323
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              White Directory
              P.Ol Box 5168
              Buffalo, NY 14240-5168


              Whites Welding
              6 Kershaw Ave.
              Hampton, NH 03842


              Williams Home Improvement
              506 Notre Dame Ave.
              Manchester, NH 03102


              Winer And Bennett, LLP
              Re: Centrix Bank & Trust
              P.O. Box 488
              Nashua, NH 03061-0488


              Wragg Brothers Well Drilling
              P.O.Box 110
              Ascutney, VT 05030


              Wright Express Fleet Card
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              S. Portland, ME 04106-2301
